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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   EL DORADO DIVISION

 UNITED STATES OF AMERICA                                                                   PLAINTIFF

 v.                                 CASE NO. 1:10-CR-10004-004

 WILLIAM MITCHELL                                                                        DEFENDANT

                                                ORDER

         Before the Court is Defendant’s Notice of Appeal and Motion for Certificate of

 Appealability. (ECF No. 132). On June 8, 2012, Mitchell filed a Motion Under 28 U.S.C. § 2255

 to Vacate, Set Aside, or Correct Sentence. (ECF No. 100). Mitchell argued that he was entitled to

 re-sentencing pursuant to the Fair Sentencing Act. He also argued that he was entitled to a new trial

 due to ineffective assistance of counsel. The Court denied Mitchell’s motion as to his ineffective

 assistance of counsel claim and granted the motion as to Mitchell’s request for re-sentencing. Citing

 Dorsey v. United States, 132 S. Ct. 2321, 2331, 183 L. Ed. 2d 250 (2012), the Court held that

 Mitchell should be-re-sentenced pursuant to the mandatory minimum standards in the FSA because

 he was sentenced after the FSA was enacted for unlawful conduct that occurred before the FSA was

 enacted. (ECF Nos. 118 & 124). Mitchell was re-sentenced to 84 months with credit for time

 already served in federal custody. (ECF No. 131).

         Six days after his re-sentencing, Mitchell filed a notice of appeal which was docketed as a

 Motion for Certificate of Appealability. (ECF No. 132). After reviewing the notice of appeal, it

 appears to be a direct appeal of Mitchell’s re-sentencing that is unrelated to the Court’s partial denial

 of Mitchell’s § 2255 motion.1 Mitchell has the right to directly appeal his new sentence, and no

         1
          Even if the notice of appeal can be construed as a Motion for Certificate of Appealability
 related to the partial denial of Mitchell’s § 2255 motion, Mitchell has offered no argument
 demonstrating that reasonable jurists would disagree with the Court’s assessment of the
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 certificate of appealability is needed in order to accomplish the appeal. Accordingly, the Clerk is

 directed to terminate the Motion for Certificate of Appealability.

                IT IS SO ORDERED, this day 29th day of January, 2014.



                                                              /s/ Harry F. Barnes
                                                              Harry F. Barnes
                                                              Senior United States District Judge




 ineffective assistance of counsel claim. See Slack v. McDaniel, 529 U.S. 473, 484 (2000)
 (quoting Barefoot v. Estelle, 464 U.S. 880, 893 (1983) (explaining what a habeas petitioner must
 show in order for a certificate of appealability to issue)). Accordingly, the motion would be
 denied.
